Case 2:07-cr-00689-GW Document 3 Filed 07/13/07 Page 1of2 Page ID #:16

&
UNITED STATES DISTRICT COURT ‘-OAAtet Nn |
CENTRAL DISTRICT OF CALIFORNIA Ys. DISTRICT cous

CASE SUMMARY

case Number O7 = DOUG

Defendant Number One

U.S.A. v. Charles C. Lynch -

Year of Birth 1962

Indictment C Information

NOTE: Allitems are to be completed. Information not applicable or unknown shall be indicated as "N/A".

OFFENSE/VENUE
a, Offense charged as a: 1) Petty Offense
[1 Misdemeanor © Minor Offense & Felony

b. Date of offense 2006-2007

¢. County in which first offense occurred
San Luis Obispo

d. The crimes charged are alleged to have been committed in:
CHECK ALL THAT APPLY
¥ Los Angeles
CJ) Orange

C Ventura

O Santa Barbara

i Riverside @ San Luis Obispo
OU San Bernardino C] Other

Citation of offense 21 USC 846, 841(a)(1), (b\(1)(B), 853,
856, 859

RELATED CASE

Has an indictment or information involving this defendant and

the same transaction or series of transactions been previously

filed and dismissed before trial? No Cl Yes
IF YES Case Number

Pursuant to Section 11 of General Order 224, crimmal cases

may be related if a previously filed indictment or information

and the present case:

a, arise out of the same conspiracy, common scheme,
transaction, series of transactions or events; or

b. involve one or more defendants in common, and would
entail substantial duplication of labor in pretrial, trial or
sentencing proceedings if heard by difference judges.

Related case(s), if any: MUST MATCH NOTICE OF RELATED

CASE

PREVIOUSLY FILED COMPLAINT

A complaint was previously filed on:
Case Number
Charging

The complaint:
OC was dismissed on:

Cs still pending

Investigative agency (FBI, DEA, etc.) DEA

COMPLEX CASE

Are there 8 or more defendants in the Indictment/Information?
OO Yes* No

Will more than 12 days be required to present government’s
evidence in the case-in-chief?

O Yes* MW No

* AN ORIGINAL AND3 COPIES OF THE NOTICE OF COMPLEX
CASE MUST BE FILED 2 BUSINESS DAYS BEFORE THE
ARRAIGNMENT IF EITHER YES BOX 15 CHECKED,

Superseding Indictment/Jnformation

This is the superseding charge, i.e. 1%, 2™.
The superseding case was previously filed on:

Case Number

The superseded case:
C1 is still pending before Judge/Magistrate Judge

LC) was previously dismissed on

Are there 8 or more defendants in the superseding case?
0D Yes* ONo

Will more than 12 days be required to present government’s
evidence in the case-in-chief?
C] Yes* ONo

Was a Notice of Complex Case filed on the Indictment or
Information?
D Yes O No

* AN ORIGINAL AND3 COPIES OF THE NOTICE OF COMPLEX
CASE MUST BE FILED 2 BUSINESS DAYS BEFORE THE
ARRAIGNMENT IF EITHER YES BOX IS CHECKED,

Is an interpreter required: O Yes No
IF YES, list language and/or dialect:

CR-72 (12/05)

CASE SUMMARY

Page | of2
Case 2:07-cr-00689-GW Document 3 Filed 07/13/07 Page 2o0f2 Page ID #:17

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CASE SUMMARY
= a a a
OTHER CUSTODY STATUS
WMale OD Female
BUS. Citizen C1 Alien Defendant is not in custody:
Alias Name(s) a. Date and time of arrest on complaint:
b. Posted bond at complaint level on:
in the amount of $
This defendant is charged in- wf Ali counts &. PSA supervision? O Yes CL] No
Only counts: d. Is a Fugitive (Yes O No
(1 This defendant is designated as “High Risk” per ¢. Is on bail or release from another district:

18 USC 3146(a}(2) by the U.S. Attomey.
QO This defendant is designated as “Special Case”

f. C1 Has not been arrested but wiil be notified by summons

to appear.
18 USC 3166 :
Per 18 USC 3166(b)(7) g. Warrant requested. Yes ONo
Is defendant a juvenile? 0 Yes No
IF YES, should matter be sealed? =O Yes CO) No Defendant is in custody:
The area of substantive law that will be involved in this case a. Place of incarceration: 0 State O Federal
includes: b. Name of Institution:
toe, . . IfF / US. " istrati :
O financial institution fraud O public corruption ©. I'Federal: U.S. Marshal's Registration Number
Cl government fraud CQ tax offenses , ;
. . sya d, 0 Solely on this charge. Date and time of arrest:
[] environmental issues U mail/wire fraud
narcotics offenses 1 immigration offenses _,
. . gration olense e. On another conviction: O Yes O No
0 violent crimes/firearms U corporate fraud .
C0 Other: IF YES ( State CO Federal TJ Writ of Issue
_ , -  £ Awaiting trial on other charges: © Yes O No
IF YES 00 State O Federal AND
Name of Court:
Date transferred to federal custody:
This person/proceeding is transferred from another district
pursuant to F.R.CrP, 20 21 406
EXCLUDABLE TIME

Determinations as to excludable time prior to filing indictment/information EXPLAIN:

Date 07/12/2007 Ve A Q

Signature of Assistant OS Attorney

David P. Kowal
Print Name

CR-72 (12/05) CASE SUMMARY Page 2 of 2
